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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

DERICK MILLER                             )
                                          )
                Plaintiff,                )
                                          )
vs.                                       )                 Civil Action No. 5:23−CV−00069-C
                                          )
FEDERAL CROP INSURANCE                    )
CORPORATION;                              )
                                          )
THE RISK MANAGEMENT AGENCY                )
of the UNITED STATES DEPARTMENT )
OF AGRICULTURE; and                       )
                                          )
THOMAS J. VILSACK, in his capacity as )
Secretary of the United States Department )
of Agriculture,                           )
                                          )
                        Defendants.       )
____________________________________)


                    BRIEF IN SUPPORT OF PLAINTIFF’S
          MOTION FOR JUDGMENT ON THE ADMINISTRATIVE RECORD


       COMES NOW the Plaintiff, Derick Miller, by and through the undersigned Counsel, and

for this Brief in Support of his Motion for Judgment based on the Administrative Record does state

as follows:

       Respectfully Submitted:               By: /s/ Grant Ballard
                                             J. Grant Ballard (AR Bar # 2011185)
                                             ARK AG LAW, PLLC
                                             P.O. Box 224
                                             Clarendon, AR 72029
                                             T: (870) 747-3813
                                             F: (870) 747-3767
                                             E: gballard@arkaglaw.com
                                             Attorney for Plaintiff



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           I.      INTRODUCTION

           The Plaintiff, Derick Miller, is a farmer from Gaines County, Texas.            The Plaintiff

purchased a federally reinsured policy of crop insurance to insure his 2021 cotton and peanut crops.

There is no genuine dispute that Plaintiff’s crops were negatively impacted by insurable causes of

loss- including high winds- which occurred during the summer of 2021. However, the Defendants

herein determined Plaintiff failed to employ “good farming practices,” and, as a result, his losses

on the insured acres were determined to be uninsured. Plaintiff now appeals the “good farming

practices” determination issued by the Defendants which related to the production of his 2021

peanut and cotton crops. The Plaintiff argues herein that the Defendants’ “Good Farming

Practices” determination was made in violation of the Agency’s own regulations and procedure,

was arbitrary, capricious, in error and unsubstantiated by substantial evidence of record.

           A. Overview of the Federal Crop Insurance Program

           This proceeding involves a Federal Crop Insurance Policy that was issued to the Plaintiff.

Pursuant to the Federal Crop Insurance Act (FCIA), at 7 U.S.C. § 1501 et seq., the United States

Department of Agriculture (USDA), through the Federal Crop Insurance Corporation and the Risk

Management Agency, “licenses” private companies to sell and service crop insurance policies

which are written and reinsured by the United States. 1 In the present case, the Plaintiff purchased

his policy from Crop Risk Services (CRS), an approved private insurance provider.                   The

indemnities are reinsured by the Defendants. As a result, the Defendants are not disinterested

parties to this proceeding and, if the Plaintiff should prevail, will have to reimburse Plaintiff’s

private “approved insurance provider,” for any indemnity paid to the Plaintiff. Even though most


1
    Nobles v. Rural Community Ins. Servs, 122 F.Supp.2d 1290, 1292 (M.D. Al. 2000).
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federal crop insurance policies are sold by private companies such as CRS, the Defendants

maintain significant control over the availability of crop insurance. 2 The RMA establishes the

terms and conditions of insurance. The crop insurance policy provides that questions regarding

“good farming practices” be resolved by the Federal Crop Insurance Corporation which is

administered by the Risk Management Agency.

           B. Good Farming Practices

            “Good farming practices” are defined in the relevant policy provisions and in Federal

Regulations as:

           The production methods utilized to produce the insured crop and allow it to
           make normal progress toward maturity and produce at least the yield used to
           determine the production guarantee or amount of insurance, including any
           adjustments for late planted acreage, which are those generally recognized by
           agricultural experts or organic agricultural experts, depending on the
           practice, for the area.

           See Exhibit A to Plaintiff’s Complaint at ECF Doc. No. 1-1, page 4, Definition of
           “Good Farming Practices” (emphasis added) also codified in Federal Regulation
           at 7 C.F.R. § 457.8 § 1 “Definitions” (2021).

           The failure of an insured farmer to follow good farming practices can result in a

determination that the insured farmer’s losses are uninsured. 3 In the present case, Plaintiff’s

Approved Insurance Provider, CRS, initially made a good farming practices decision. However,

all final good farming practices determinations must be made by the Defendants herein. Congress

specifically provided farmers such as the Plaintiff a right of review of such determinations in the

Federal Crop Insurance Act wherein it is stated that “a producer shall have the right to a review of

a determination regarding good farming practices made.” 7 U.S.C.A. § 1508 (West). The Plaintiff

now brings suit to appeal the Defendants determination that he failed to use “good farming


2
    See 7 C.F.R. § 400.168(a).
3
    Please see ¶ 12 of the Policy at Exhibit A to Plaintiff’s Complaint.
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practices,” as defined under the relevant policy and Federal law. The crop insurance policy and

the regulatory provision cited above is to be given the force and effect of Federal Law pursuant to

the Supreme Court’s opinion in Federal Crop Ins. Corporation v. Merrill, 332 U.S. 380 (1947).

The policy as codified must be strictly construed by this Court. Id.

          II.      UNDISPUTED FACTS REGARDING THE INSURED 2021 CROP

          In 2021, the Plaintiff planted and insured 1,498 acres of cotton in Gaines County, 240 acres

of cotton in Yoakum County, 1,197 acres of peanuts in Gaines County, and 240 acres of Peanuts

in Yoakum County. Numerous other farmers in these Texas counties also planted and insured

peanuts and cotton. 2021 was a challenging year for these farmers who experienced multiple

adverse weather conditions including drought, excess rainfall later in the year, high wind, and heat,

which resulted in serious damage to growing crops. Based on these aforementioned causes of

loss, crop insurance claims were submitted by scores of area farmers. At least one hundred and

nineteen (119) crop insurance claims were paid in Gaines County, while another one hundred (100)

claims were paid in Yoakum County. The Defendant USDA Risk Management Agency has posted

a publicly available record of these claims, along with the causes of each loss, on its own website. 4

Ninety-two (92) claims for losses to cotton were paid in Gaines and Yoakum counties, alone, for

losses resulting from causes of loss including wind, heat, hail, and excess moisture. In these same

two counties where the Plaintiff farms, fifty-nine (59) claims for losses to peanuts were paid.

These claims similarly resulted from causes of loss including wind, heat, hail, and excess moisture.

          The Plaintiff’s insured crops experienced the adverse weather conditions listed above. He

timely notified his insurance provider, CRS, of significant losses from high winds. These winds




4
    See “Cause of Loss Historical Data Files” at https://www.rma.usda.gov/SummaryOfBusiness/CauseOfLoss.

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were especially destructive and even destroyed some of his irrigation equipment during the

growing season. While similarly situated farmers received indemnities for their insured losses, the

Plaintiff, Derick Miller, was denied his claims for indemnities on the alleged basis that he had

failed to employ “good farming practices.”

        The genesis for the denial of the Plaintiff’s crop insurance claims appears to have been an

anonymous complaint that was made against the Plaintiff which resulted in the Defendants opening

a review which specifically targeted the Plaintiff. The Defendants’ directed Plaintiff’s crop

insurance provider to conduct “growing season inspections,” often referred to as a “GSI,” on

Plaintiff’s insured farms. 5 The GSI process involves compliance reviewers physically inspecting

the insured crop throughout the growing season. A growing season inspection was conducted on

the Plaintiff’s farms, and notes of adjusters/inspectors who actually visited the Plaintiff’s fields are

found in the administrative record. Interestingly, the physical inspection of the Plaintiff’s peanut

crop indicated that while “some stands are weak,” meaning plant populations were low in some

areas, the Plaintiff’s crops were “comparable” to those in the general area of Plaintiff’s farms 6 and

suggested that the operation should not be reviewed at a later time. 7

        Despite the results of the above-referenced growing season inspection, the heightened

scrutiny of the Plaintiff’s farming operation continued. Plaintiffs’ crop insurance provider, CRS,

solicited “expert” opinions on the Plaintiffs’ farming practices from James Todd, Mark Scott, and

Dana Porter. The Plaintiff provided letters and affidavits from area crop experts Geoff Cooper

and Dr. Justin Tuggle. A request for a final good farming practices determination was submitted

to the Defendants’ herein. On October 25, 2022, the Defendants issued their “Good Farming



5
  Please refer to the Administrative Record at ECF Doc. No. 10-1, see USA-AR-0011.
6
  Please see the administrative record at ECF Doc. No. 11-4, see USA-AR-6463.
7
  Please see the administrative record at ECF Doc. No. 11-4, see USA-AR-6464.
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Practices Determination for Derick Miller.” 8 This determination held that: 1) Miller’s peanut

irrigation and weed control practices did not meet good farming practices; and 2) Miller’s cotton

weed control practices did not meet good farming practices. The Plaintiff, Derick Miller, now

brings this appeal of these determinations.

        III.     STANDARD OF REVIEW

        Pursuant to the Administrative Procedure Act, a reviewing court must set aside those

agency determinations that are "arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law." 5 U.S.C. § 706(2)(A). This Court must also "hold unlawful and set aside

agency action, findings, and conclusions found to be ... unsupported by substantial evidence," 9 as

this is a case reviewed on the record pursuant to statute. 7 U.S.C. § 6999. “Substantial evidence”

is such relevant evidence as a reasonable mind might accept as adequate to support a conclusion.”

Preferred Sites, LLC v. Troup County, 296 F.3d 1210 (Fed. 11th Cir., 2002). Evidence is not

substantial if it is overwhelmed by other evidence, 10 or if it constitutes mere conclusion. 11

        This is a case where the Plaintiff argues that the Defendants have ignored relevant factors

such as wind damage to his irrigation equipment and improperly applied Georgia production

practices to a West Texas peanut and cotton crop. The question for this Court is whether the

Agency has followed the law in forming its “Good Farming Practices Determination,” whether

the Defendant Agency has ignored relevant factors, and whether substantial evidence supports the

good farming practices determination? The Defendants’ refusal to base their determinations on

agricultural experts for the Plaintiff’s area and refusal to consider factors raised herein are not



8
  See the Administrative Record at ECF Doc. No. 13-2, at USA-AR-7248
9
  5 U.S.C. Sec. 706(2)(E).
10
   Ellison v. Sullivan, 929 F.2d 534, 536 (10th Cir.1990)
11
   Olenhouse v. Commodity Credit Corp., 42 F.3d 1560 (10th Cir. 1994).

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excusable errors. In Am. Stewards of Liberty v. Dep’t of the Interior, the District Court for the

Western District of Texas recognized that Agency action that “disregards applicable law is

arbitrary and capricious and must be set aside.” Am. Stewards of Liberty v. Dep't of the Interior,

370 F. Supp. 3d 711 (W.D. Tex. 2019). The Plaintiff herein asks this Court to do just that and to

set aside Defendant’s good farming practices determination.

           “Under the Administrative Procedure Act (APA), an agency must comply with its own

regulations, and the court must review an agency's actions to ensure conformity with relevant

regulations.” Am. Stewards of Liberty v. Dep't of the Interior, 370 F. Supp. 3d 711 (W.D. Tex.

2019) Citing 5 U.S.C.A. § 704. In addition, the Fifth Circuit Court of Appeals has recognized the

applicability of the Accardi Doctrine, as established by the United States Supreme Court, holding

that this doctrine “stands for the unremarkable proposition that an agency must abide by its own

regulations.” Richardson v. Joslin, 501 F.3d 415, 418 (5th Cir. 2007) citing Chevron Oil Co. v.

Andrus, 588 F.2d 1383, 1386 (5th Cir.1979). “An agency's failure to afford an individual

procedural safeguards required under its own regulations may result in the invalidation of the

ultimate administrative determination.” Id. citing United States v. Morgan, 193 F.3d 252, 266 (4th

Cir.1999). See also Alamo Express, Inc. v. United States, 613 F.2d 96, 98 (5th Cir.1980). The

Judicial Review of agency action does not mean “that we must rubber-stamp the agency decision

as correct,” and, “rather, the reviewing court must assure itself that the agency decision was based

on a consideration of the relevant factors (and that the agency) has exercised a reasoned

discretion.” 12




12
     Northwest Airlines, Inc. v. Goldschmidt, 645 F.2d 1309 (8th Cir. 1981).
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          IV.      ARGUMENT


           The Defendants have arbitrarily determined that Plaintiff did not use “good farming

practices” (GFP’s) in the production of his 2021 peanut and cotton crops. Specifically, Defendants’

Good Farming Practices (GFP) determination concluded that Plaintiff’s Peanut irrigation and weed

control practices did not meet Good Farming Practices; and Plaintiff’s cotton weed control

practices failed to meet Good Farming Practices. 13 Defendants’ failed to consider relevant factors

in making these decisions, their determination was not based on substantial evidence as required

by the Administrative Procedure Act, nor was the Defendants’ GFP determination based on

production methods “ generally recognized by agricultural experts or organic agricultural

experts, depending on the practice, for the area” as required by the crop insurance policy and

Federal Regulation at 7 C.F.R. § 457.8 ¶ 1. The GFP determination and denial of the Plaintiff’s

crop insurance claim was an arbitrary and capricious agency action, in violation of USDA

regulations and guidance as it rests upon conclusions based in Georgia production practices and

the Defendants affirmatively ignored evidence supporting a finding that the Plaintiff did employ

good farming practices but was also negatively impacted by insurable causes of loss.

           A. The GFP Determination Is Properly Reversed by this Court Due to Defendant’s
              Failure to Consider Weather Conditions and the Fact that Failure of Irrigation
              Water Supply and Failure of Weed Control Measures Can be Insurable Causes
              of Loss.

           The relevant GFP determination that Plaintiff appeals from includes a conclusory statement

that “we considered all weather conditions you outlined in your response and concluded that a lack

of water and excessive weed competition were the most limiting factors.” 14 The Plaintiff suggests

that this decision is not based on substantial evidence. How did the Agency Defendants conclude

13
     See ECF Doc. No. 13-2, USA-AR-7248.
14
     See Exhibit B to Plaintiff’s Complaint, at age 3, Analysis.
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that the adverse weather conditions that impacted his neighbors were not the “most limiting

factors” for the Plaintiff’s crop? What weather conditions were considered? The administrative

record provides no answer to this inquiry. The Agency arbitrarily determined that lack of water

and weed competition were a result of the Plaintiff’s practices, instead of the adverse weather with

which he was faced. Perhaps the most striking oversight by the Agency Defendants is their failure

to recognize and consider that their own regulations provide that failure of irrigation water supply

and lack of weed control may be insurable causes of loss. This failure of the Defendants to

acknowledge their own regulations and procedures requires reversal by the Court.

        Defendants’ own Manager’s Bulletin No.: MGR-05-010 provides that good farming

practices (GFP) decisions “will be based on: . . . The agronomic situation of the producer, which

includes material facts . . . as well as weather and climate factors.” 15 The Defendants’ Good

Farming Practice Determination Standards Handbook also requires that GFP determinations be

based on “weather and climate factors” and “other factors affecting the crop.” 16 Yet, in the present

case, the weather factors that affected Plaintiff’s crop are not even named in the GFP

determination. The Defendants have concluded that the alleged failure of Plaintiff’s irrigation and

weed control measures constituted a failure to employ good farming practices but have also failed

to address the impact of adverse weather conditions on irrigation and weed control. For this reason,

Defendants application an uninsured cause of loss for all of Plaintiff’s crops in Yoakum and Gaines

Counties 17 is improper and in violation of the applicable law guiding administration of the crop

insurance program. The GFP decision must be reversed as Federal Regulation provides that losses




15
   See Appendix Page 9, Bulletin No: MGR-050-10 at Page 3, Paragraph B 1.
16
   See Appendix Page 4, GFP Determination Standards Handbook Excerpt at Paragraph 22 A, page 9.
17
   See the Administrative Record at ECF Doc. No. 13-2, USA-AR-7252.
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resulting from failure of irrigation water supply and weed control can be insurable if they result

from adverse weather conditions.

        There is no dispute that the Plaintiff did, in fact, irrigate his crops and undertake weed

control measures. However, in making their adverse determination to the Plaintiff, the Defendants

completely refused to consider the fact that any alleged irrigation or weed control failure could be

the result of adverse weather conditions. There is no discussion of this possibility or the applicable

regulation in Defendants’ determination, making reversal under the APA appropriate.

                 1. Failure of Irrigation Water Supply is not an Uninsurable Failure to Employ
                    Good Farming Practices.

        Defendants assumed in their GFP determination that a lack of irrigation water, or the

inability of a farmer to apply a certain amount of water to insured acreage, is an uninsurable failure

to employ good farming practices. Such a conclusion is contrary to the guiding law and applicable

RMA procedures. Federal Regulation and the Basic Provisions of crop insurance provide that crop

insurance is provided to protect against “naturally occurring events.” 18 The failure or breakdown

of irrigation equipment is not a covered cause of loss “unless the failure, breakdown or inability

is due to a cause of loss specified in the Crop Provisions.” 19 In the present case, both the peanut

crop provisions and the cotton crop provisions of insurance provide insurance against “failure of

the irrigation water supply” if such a failure results from “adverse weather conditions.” 20 The

fact that the failure of irrigation water supply is insurable was completely ignored by the

Defendants in their GFP “analysis” and not considered, even after such facts were offered to the


18
   See the Basic Provisions attached to Plaintiff’s Complaint and codified at 7 CFR 457.8 ¶ 12 (2021).
19
   See the Basic Provisions attached to Plaintiff’s Complaint and codified at 7 CFR 457.8 (2021), see ¶ 12 (d).
20
   See Peanut Crop Provisions at ¶ 11(h) codified in Federal Regulation at 7 C.F.R. § 457.134 and the Cotton Crop
Provisions at ¶ 8 (h) codified in Federal Regulation at 7 C.F.R. § 457.104.



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Agency. The Agency Defendants ignored uncontroverted facts in the record which indicated that

weather events did interrupt the irrigation capability of the Plaintiff. This refusal to consider

relevant factors and guiding law allowing insurance for such situations necessitates reversal of the

GFP determination in this case.

        A primary reported cause of loss for the damages to the Plaintiff’s peanut and cotton crops

was high wind. 21 The wind was so severe that it “flipped over” two of Plaintiff’s center pivot

irrigation systems. 22 Certain of Plaintiff’s irrigation pivots were taken out of commission by high

winds. Mark Scott, whom the Defendants relied on in their GFP determination, conceded that

“wind and rain events could have been partially to blame for plant stands.” 23 The Court doesn’t

have to accept the Plaintiff’s word on these facts. Mr. Scott confirmed that “straight and tornadic

winds” . . . “did overturn some center pivots. Repair and replacement timing was delayed by a

shortage of new pivots and repair materials.” 24 Experts relied upon by the Defendants even

conceded in the record that photographs taken by CRS adjusters “show windrows that have been

wind blown and covered with sand.” 25 The refusal to acknowledge or consider these facts

demonstrates arbitrary decision-making by the Agency Defendants.

                2. The Agency Erred in Finding that the Presence of Noxious Weeds must
                   Result in an Adverse Good Farming Practices Determination.

        Just as the Defendants refused to acknowledge that failure of irrigation water supply is an

insured cause of loss, the Defendants, in making their GFP determination, never acknowledged or

considered that losses from weed infestation are similarly insurable. There is no dispute that the



21
   See ECF Doc No. 11-5, at USA-AR-6613.
22
   See ECF Doc No. 12-3, at USA-AR-6963.
23
   See ECF Doc No. 13-2, at USA-AR-7165.
24
   See ECF Doc No. 13-2, at USA-AR-7171.
25
   See ECF Doc No. 11-8, at USA-AR-6832.
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Plaintiff engaged in weed control measures. Plaintiff concedes that a failure to employ any weed

control measures would be a failure of a farmer to use “good farming practices.” However, that is

not the case before the Court. In this case, Defendants summarily determined that the presence of

weeds must result in a finding that weed control measures were insufficient and that losses were

uninsurable. The Agency refused to consider the highly relevant factor of weather and the

possibility that Plaintiff’s weed control measures were impeded by insured causes of loss,

specifically adverse weather conditions.

           The Defendants have previously published policy procedure applicable to this situation.

Defendants refusal to follow their own published procedure indicates arbitrary and capricious

decision-making. In interpreting the Basic Provisions of Crop Insurance, the Defendant RMA has

previously taken the position that, if insect and weed infestations are the result of insured causes

of loss, those losses are covered under the crop insurance policy. For example, if a farmer cannot

make a herbicide application due to adverse weather conditions, lack of weed control is insurable.

In RMA Final Agency Determination FAD-239, the Agency established that “An insect, disease,

or weed infestation that was not due to insufficient or improper application of control

measures could still cause damage to the crop and this is a covered cause of loss.” 26 The

Defendant RMA has made clear that weed infestation damage resulting from covered causes of

loss may be “covered” under the crop insurance policy.

           Nevertheless, in the present case the Defendants have ignored this relevant factor despite

the fact that the Plaintiff raised the issue that his weed control was hampered by excess

precipitation. The Plaintiff noted in the record that “heavy rains and standing water after planting




26
     See Appendix 16.
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were main causes of weed breakthrough,” 27 that “washing rains were main problem leaching and

washing herbicides down the elevations,” 28 and that “we received a 1” rain on the acres before we

could spray any type of preemergent.” 29 Weather data in the administrative record supports the

Plaintiff’s recollection of excess rainfall. Even an expert relied on by the Defendant agency noted

that “May was wet and cool” and that “June was unusually wet. 30” The Defendants refusal to

consider these insurable causes of loss, which could have hampered weed control supports a

finding by this Court that the Defendants’ decision finding the Plaintiff did not employ good

farming practices was arbitrary, capricious, and unsupported by substantial evidence.

                3. Refusal to Consider Weather Conditions Constitutes Reversible Error.

        Despite the written assurance that RMA “considered all weather conditions,” there is no

discussion in the “analysis” portion of the GFP determination as to what weather conditions were

considered. There was no discussion or consideration of the possibility that the failure of the

irrigation water supply or increased weed pressure could be the result of adverse weather

conditions. The Defendants ignored clearly relevant factors. Another District Court recently

affirmed that “weather-related facts are not irrelevant” to questions of “good farming practices”

and that the Defendant RMA’s own Good Farming Practices Handbook, which identifies the

“Bases for GFP Decisions” requires that such determinations must be based on “weather and

climate factors” and “other factors affecting the crop.” 31 “Weather is one of the factors for

making a GFP decision, and it can be considered to the extent it affected” . . . “compliance

with the requirements of GFP.” 32 In DL Farms, LLC, v. United States, the Court found that the


27
   See the Administrative Record at USA-AR-6592.
28
   Id.
29
   Please refer to the Administrative Record at USA-AR-7007.
30
   Please refer to the Administrative Record at USA-AR-6830.
31
   DL Farms LLC v. United States, No. 3:21-CV-144, 2023 WL 5721700, at *3 (D.N.D. Sept. 3, 2023).
32
   Id.
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RMA did, in making its Good Farming Practices Determination, cite the weather conditions and

discuss their finding that adverse weather conditions were not extreme enough to affect the

insured’s farming practices. 33 For this reason, that GFP determination was upheld. Such facts are

not present before this Court, where the determination appealed from only states that “we

considered all weather conditions.”           The adverse weather conditions (including high wind

specifically) are not even mentioned in the GFP determination for Derick Miller. This is clearly a

case where relevant factors impacting crop losses and farming practices were not considered by

the Defendant Agency and, as a result, reversal is appropriate.

        B. The Defendants’ Reliance on Expert Reports Which Suggest that Farming
           Conditions Were “Ideal” and Defendants’ Lack of Consideration of Opposing
           Expert Opinions Demonstrates Arbitrary Decision Making.

        The Defendants relied exclusively on the reports of Mark Scott and James Todd, when

making their GFP determination. The Defendants effectively ignored expert affidavits from Geoff

Cooper and Dr. Justin Tuggle, in addition to correspondence from Dana Porter. The reliance on

two (2) of five (5) available experts is arbitrary and, more importantly, patently unreasonable given

the facts. The reports by purported “experts” Mark Scott and James Todd failed to give significant

attention to the presence (and potential impacts of) adverse weather conditions present during the

2021 growing season. Mark Scott opined, in his report, that “2021 was a good year for growing

peanuts,” 34 while James Todd wrote that “no weather events were noted that should have had an

extreme detrimental effect on yield” 35 and that “2021, was an ideal year for peanut production.”36

The arbitrary nature of Defendant’s reliance on these reports is readily apparent when one

recognizes that the Defendants had knowledge and have now published on their own public


33
   Id.
34
   Please refer to the Administrative Record at USA-AR-6738.
35
   Please refer to the Administrative Record at USA-AR-6833.
36
   Please refer to the Administrative Record at USA-AR-6840.
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website that farmers in Gaines and Yoakum Counties submitted (and were paid on) fifty-nine (59)

peanut crop insurance claims resulting from heat, wind, excess precipitation, etc. during this same

time period that the purported experts considered “ideal” for production. 37 While the Defendants

received over 200 crop insurance claims for these two rural counties in 2021 alone, 38 they also

chose to rely, in making a good farming practices determination, on opinions that ignored or

negated the widespread impact of adverse weather and farming conditions in the area.

         The Defendants also chose to ignore three (3) expert opinions. In making their “good

farming practices determination,” the Defendants gave no significant attention to the opinion of

Dr. Justin Tuggle, an agronomist who has written numerous publications concerning peanut

production and irrigation, and who also explained for the record that weather conditions in 2021

were “extreme” and “fluctuated from drought to flooding to hot early to cool summer.” 39

Defendants gave no consideration to the conclusion of County Agricultural Extension Agent Geoff

Cooper who reported that Plaintiff’s “farms are in much better shape than surrounding farms at

this time” 40 and that “Mr. Miller has been following good farming practices in the 2021 growing

season.”




37
  Plaintiff’s Counsel recognizes these documented claims are not included in the Administrative Record but contends
they are relevant to the dispute and fall within certain limited exceptions to the record-only review rule. The Fifth
Circuit has noted there are exceptions to prohibitions concerning consideration of documents outside of the
administrative record. See Robinson v. Aetna Life Ins. Co., 443 F.3d 389 (5th Cir., 2006) and Estate of Bratton v.
Nat'l Union Fire Ins., 215 F.3d 516, 521 (5th Cir.2000). Relevant exceptions which support consideration of numerous
paid crop insurance claims based on adverse farming conditions in Gaines and Yoakum Counties, include but are not
limited to showing “bad faith on the part of the Agency” in regard to its suggestion that other farmers did not suffer
from adverse weather conditions in 2021 and the fact that supplementation is necessary to demonstrate the Defendants
have not considered “all relevant factors” in reaching their conclusions.
38
   See “Cause of Loss Historical Data Files” at https://www.rma.usda.gov/SummaryOfBusiness/CauseOfLoss.
39
   Please refer to the Administrative Record at USA-AR-6441.
40
   Please refer to the Administrative Record at USA-AR-6972.
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        Dana Porter, who provided an opinion at the request of Plaintiff’s insurance provider,”

indicated that the fields to which the Plaintiff’s crops were being compared were not similar to

those farmed by the Plaintiff. Mr. Porter questioned whether the yields reported for neighboring

farmers were “truly representative” as they were taken from “much smaller acreages.” 41 The

Defendants ignored these concerns and blindly relied on the Scott and Todd opinions, in making

their determination adverse to the Plaintiff. Let us also not forget that the crop insurance adjuster

who actually visited the Plaintiff’s insured farms actually reported that the Plaintiff’s crops were

“comparable” to those in the general area of Plaintiff’s farms 42 and that the operation should not

be reviewed at a later time. 43 Yet another witness disregarded and completely ignored by the

Defendants who chose to blindly rely on the Scott and Todd reports which were not favorable to

the Plaintiff.

        In forming the GFP determination that is the subject of the Plaintiff’s Complaint, the

Defendants gave only passing recognition to the fact that agronomists and agricultural experts Dr.

Justin Tuggle, and County Ag Agent Geoff Cooper provided sworn affidavits 44 verifying that the

production practices employed by the Plaintiff were “good farming practices” for the Plaintiff’s

area. In determining that the Plaintiff’s weed control measures failed to meet “good farming

practices,” Defendants simply deemed the opinion of Mark Scott as “more credible” than the

affidavits of Geoff Cooper and Justin Tuggle. What is this “credibility” determination based upon?

The Defendants’ determination simply includes a conclusory statement that the “specific

observation and photographic evidence presented by Mark Scott and CRS was more credible.”



41
   Please refer to the Administrative Record at USA-AR-6929.
42
   Please see the administrative record at ECF Doc. No. 11-4, see USA-AR-6463.
43
   Please see the administrative record at ECF Doc. No. 11-4, see USA-AR-6464.
44
   The affidavit of Geoff Cooper is available in the administrative record at USA-AR-7404 and the affidavit of Dr.
Justin Tuggle is available at USA-AR-7409.
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Such a conclusory opinion is not sufficient to satisfy the applicable Law guiding APA review of

Agency actions.

       It has been well established that, “the APA demands that agency decisions not be based on

unreliable evidence, and an agency must provide a coherent reason for refusing to consider

the testimony of expert witnesses.” McElmurray v. U.S. Dep't of Agric., 535 F. Supp. 2d 1318,

1325 (S.D. Ga. 2008) citing Chao v. Gunite Corp., 442 F.3d 550, 559 (7th Cir.2006). In the

present case, the Agency outlined no reasoned basis for refusing to consider the opinions of Geoff

Cooper and Dr. Justin Tuggle. “An agency may discredit the uncontradicted witness testimony

based on credibility grounds, but only if the agency provides reasons for its credibility

determination. Id. Citing Tieniber v. Heckler, 720 F.2d 1251, 1254–55 (11th Cir.1983); NLRB v.

Walton Mfg. Co., 369 U.S. 404, 406–07(1962).         The Agency has provided no reasoning to

determine that Mr. Cooper or Dr. Tuggle are not “credible.” The Defendants did not take the time

to evaluate the applicable weather conditions or farming practices verified by experts Cooper and

Tuggle.

       C. Defendants’ Factual Conclusions Regarding Farming Practices Are Not
          Supported by Substantial Evidence or the Opinions of Agricultural Experts For
          the “Area” as Required by Law. As a result, the Agency’s Good Farming
          Practices Determination in this Case is Arbitrary, Constitutes an Abuse of
          Discretion, and is in Violation of the Procedure Required by Law, the Crop
          Insurance Policy, and Federal Regulation.

       The Plaintiff supported his production practices by relying on agricultural experts in his

area. He contends that the Agency’s determinations finding that he did not satisfy “good farming

practices” in regard to his farming practices are arbitrary and without substantial support in the

record. Each specific practice which received criticism will be addressed as follows, below.




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                1. Peanut Irrigation

        In relevant part, the adverse GFP determination concluded that the Plaintiff did not follow

the irrigated practice of supplying water at the critical time and in the proper amount to establish

and maintain a proper stand of peanuts. As mentioned previously, this determination omitted any

consideration of the fact that adverse weather conditions (high wind) made some irrigation

impossible because the irrigation center pivots were actually rendered unusable by straight line

and tornadic wind. The determination that lack of irrigation water is a poor farming practice should

be reversed on this basis alone because adverse weather did prevent some irrigation. Perhaps more

importantly, the Defendants decision that the peanut crop did not receive adequate irrigation is not

based on “substantial evidence” and ignores the results of the growing season inspection which

determined that the irrigation system and water was adequate for the insured crop. 45 Instead, the

Defendants’ experts estimated the amount of water applied to the crops based on historical weather

and evapotranspiration data which was simply not reliable in an “extreme” weather year such as

2021.

        Even more troubling is that the amount of water needed by the crop was based on data from

the State of Georgia and the Georgia Peanut Water Curve.” 46 The Crop Insurance Policy and

Federal Regulations require that good farming practices are “those generally recognized by

agricultural experts . . . for the area.” 47 The “area” is similarly defined in Federal Regulation and

in the policy. “Area” means “land surrounding the insured acreage with geographic characteristics,




45
   Please refer to the Growing Season Inspection Report in the record at USA-AR-6463.
46
   See the Administrative Record at ECF Doc. No. 11-6, USA-AR-6725 (report of Mark Scott).
47
   See Exhibit A to Plaintiff’s Complaint at ECF Doc. No. 1-1, page 4, Definition of “Good Farming
Practices.”

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topography, soil types and climatic conditions similar to the insured acreage.” 48 This Court should

take judicial notice that the High Plains of West Texas are not similar to the Southeastern State of

Georgia. Reliance on Georgia publications for West Texas production practices is unreasonable,

arbitrary and capricious. Furthermore, it is in violation of regulation and procedure. 49

        An administrative determination cannot be upheld without an articulated, rational

connection between the facts before the agency and the agency's decision. McElmurray v. U.S.

Dep't of Agric., 535 F. Supp. 2d 1318, 1335–36 (S.D. Ga. 2008) citing Zahnd v. Sec'y of Dep't of

Agric., 479 F.3d 767, 773 (11th Cir.2007). “Agency regulations are an extension of the legislative

process and bind the agency with the force and effect of law. As with statutes, an agency must

comply with its own regulations, and the court must review an agency's actions to ensure

conformity with relevant regulations.” 50

        The thrust of the Defendant’s determination relating to the irrigation of the Plaintiff’s

peanut crop is that the Plaintiff didn’t provide enough water when it was needed by the crop. The

purported “needs” of the crop were based on research conducted in Georgia, not in the Plaintiff’s

area. Both Mark Scott and James Todd attempted to “estimate” the amount of water needed by

the Plaintiff’s crop and the amount of water applied to the Plaintiff’s crop. Dr. Justin Tuggle who

has published multiple articles on peanut irrigation made clear in his affidavit that “such estimates

typically rely on assumptions of evapotranspiration, irrigation efficiency, pumping capability, and

the actual depth of irrigation wells. Soil temperature and plant size/growth stage will also have a




48
  See Exhibit A to Plaintiff’s Complaint at ECF Doc. No. 1-1, page 3, Definition of “Area.” See also 7 CFR 457.8
(2021).
49
50
  Owen v. Fed. Crop Ins. Corp., No. 3:19-CV-00161, 2020 WL 5913668, at *5 (S.D. Tex. July 27, 2020), report
and recommendation adopted, No. 3:19-CV-161, 2020 WL 5912602 (S.D. Tex. Oct. 6, 2020)

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significant impact on the moisture needs of any agricultural crop.” 51 Defendants did not address

Dr. Tuggle’s concerns in their GFP determination.

        In coming to opinion as to the irrigation needs of the Plaintiff’s peanut crop, the James

Todd report explicitly relies on weather data that is not relevant to the Plaintiff’s geographic area.

Mr. Todd conceded that “evapotranspiration data” for the area “was unavailable for the 2021 crop

year” so he “determined that historical ET data could be used.” 52 The problem with this is that it

has been well documented that 2021 was not an average year. Even rainfall estimates in the

Administrative Record indicate that precipitation for the months of May, June, and August, were

above the historical average 53 and that August and September were wetter than usual. 54 Mr. Todd

conceded in his report that May and June were “wet,” 55 yet his report relies on precipitation

estimates and historical evapotranspiration data which does not factor in these very-present

adverse weather conditions. The experts relied on by the Defendants appear to have relied on

“PRISM reports” of precipitation 56 which are not actual records of rainfall received but instead the

results of a model developed to “reveal short and long-term climate patterns.” 57

        In summary, the Court has no record of how much rainfall the Plaintiff’s crop received.

Nor does the Court have a record of the actual amount of irrigation water that was actually needed,

or used, by the insured peanut crop. All the Court is left with are estimates (based upon historical

data instead of 2021 data) and the opinions of witnesses. The crop insurance adjuster reported that

irrigation was adequate. Dr. Justin Tuggle and Geoff Cooper suggest that irrigation was adequate.



51
   See the Administrative Record at ECF Doc. No. 13-3, USA-AR-7409.
52
   See the Administrative Record at ECF Doc. No. 13-3, USA-AR-6828.
53
   See the Administrative Record at ECF Doc. No. 13-3, USA-AR-7026-7027.
54
   See the Administrative Record at ECF Doc. No. 13-3, USA-AR-6759 and 6764.
55
   See the Administrative Record at ECF Doc. No. 13-3, USA-AR-6829.
56
   See the Administrative Record at ECF Doc. No. 13-2, USA-AR-7252.
57
   https://www.prism.oregonstate.edu/.
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The reliance, by Defendant RMA, on historical averages, assumptions, and weather estimates is

not reasonable given the conflicting opinions on the matter. Expert Dana Porter made clear that

estimates as to irrigation water received by the insured crop would be based on “broad assumptions

about the water table depth” and “assumptions about pumping plant efficiency.” 58                         These

“assumptions” are not “substantial evidence” upon which an insured farmers claim should be

denied. Defendant USDA RMA ignores these concerns in its final determination, and, as such

reversal by this Court is appropriate.

                 2. Peanut Weed Control

        Defendants arbitrarily concluded that Plaintiff’s weed control practices were not “good

farming practices” because some of his farms had weeds present at harvest. Defendants ignore the

fact that the Administrative Record is full of references to the fact that excessive rainfall inhibited

weed control measures. The basis for the conclusion that “good farming practices” were not

employed appears to be a conclusion that the practices did not work. The determination clearly

states “while post-emergence chemical and mechanical controls (cultivation hoeing, and mowing

were applied; it appears that these methods were applied too late to adequately control the

weeds.” 59 There is evidence of record that adverse weather conditions impeded weed control.

These facts were ignored by the Defendants in their determination as to good farming practices.

As argued above, losses resulting from failure of weed control can be insured losses. The

Defendants have deviated from their own procedure and policy by ignoring this possibility and

denying the Plaintiff coverage for his losses.




 See the Administrative Record at USA-AR-6974.
58

 See Exhibit B to Plaintiff’s Complaint at ECF Doc. 1-2, see page 3 of 7 and the Administrative Record at ECF
59

Doc. No. 13-2, USA-AR-7250.
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                3. Peanut Crop Rotation and Seeding Rate

        While the final “good farming practices” determination did not clearly include a

determination as to whether the Plaintiff’s seeding rate for peanuts was deficient, Defendants did

find that Plaintiff “failed to follow recommended cropping and weed control practices,” 60 in

relation to his peanut crop. The alleged failure to rotate peanut acres out of production was

included as a basis for the Defendants’ GFP determination relevant to peanuts in Gaines and

Yoakum Counties. This determination should be summarily reversed as there is no genuine

dispute that there were only a minor number of acres which were “back to back” peanuts in the

2021 crop year and that none of those acres were in Yoakum County.

        The Defendants acknowledge that “on FSN 6000, 7492, and 1946” peanuts were grown in

some of the same fields where peanuts had grown in 2020. 61 Not all of the fields in these locations,

but some. A portion of the 247 acres on FSN 6000 had been previously planted to sunflowers.

Farm Serial Numbers (FSN) 6000, 7492, and 1946 contain a total 639 acres in Gaines County,

Texas. 62 There is no conclusion in the record as to how many peanut acres this “failure to rotate”

determination may be applied to. Obviously, the Defendants should not have applied this

determination to the Yoakum County peanut acreage. There also remains, at least, 558 acres of

peanuts in Gaines County that this determination should not relate to. The fact that the Defendants

applied a “failure to rotate” determination to acreage where this determination is clearly not

applicable is further evidence of arbitrary and capricious conduct by the Defendants. It should

also be noted that there is a contradiction of the expert opinions as to the necessity to rotate acreage


60
   See the Administrative Record at ECF Doc. No. 13-2, USA-AR-7252.
61
   See the Administrative Record at ECF Doc. No. 13-2, USA-AR-7250.
62
   See the Administrative Record at USA-AR-6474.
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planted to peanuts, with County Ag Extension Agent Geoff Cooper writing that it is not necessary

to rotate land out of peanut production in the Plaintiff’s area.

        In regard to seeing rates, Defendants wrote that “Your planting rate is lower than

recommended by ag experts and sources.” 63 This is based on the conclusion that “your peanut

stands were not comparable to neighboring peanut fields” and that “the UGA peanut production

guide” proposed a higher seeding rate. 64 As discussed in detail above, there is significant proof

that Plaintiff’s peanut stands were “comparable” to neighboring fields and that the fields relied on

by RMA’s chosen experts were not “representative.” These factors have been ignored by the

Defendant. However, the application of the University of Georgia, “UGA,” peanut production

guide to peanut production in the High Plains of West Texas is, once-again, a clear violation of

Defendant’s own crop insurance policy and published procedures. The reliance on Georgia

production standards is in contradiction with the plain terms of the Crop Insurance Policy and

Federal Regulations which require that good farming practices are “those generally recognized by

agricultural experts . . . for the area.” 65    The finding that Georgia production practices set the

standard for “good farming practices” in West Texas is arbitrary and plainly in violation of the

applicable regulations.

                4. The GFP regarding Cotton Production Departed from RMA’s Guidelines and
                   Published Procedure.

        The only criticism of Plaintiff’s Cotton farming practices is the allegation that Plaintiff

failed to properly control weeds. Again, Defendants have ignored the impact of weather conditions

on weed control. Defendants rely solely on the report of Mark Scott for their findings relating to


63
   See the Administrative Record at ECF Doc. No. 13-2, USA-AR-7250.
64
   See the Administrative Record at ECF Doc. No. 13-2, USA-AR-7250.
65
   See Exhibit A to Plaintiff’s Complaint at ECF Doc. No. 1-1, page 4, Definition of “Good Farming
Practices.”

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weed control in Cotton. Mr. Scott’s report is vague and makes the general finding that “the

herbicide program used on Mr. Miller’s farms during 2021 were lacking.” 66 The determination

relating to weed control in cotton should be reversed as it is not in compliance with the published

RMA standards for GFP determinations. The conclusion is not supported by an “additional expert

opinion” as required by the Defendant’s Good Farming Practices Standards Handbook as the

written opinion is not supported by published documentation. 67 While the Scott report cites

publications concerning herbicide use in cotton, they simply do not state that a “preplant

incorporated” herbicide is necessary for cotton production in the Plaintiff’s area. Mark Scott’s

report notes that the Plaintiff did use a preemergence herbicide and post emergence herbicides.

No publication is cited in support of the conclusion that Plaintiff’s post-emergence herbicide

control was “lacking.” Given the lack of support for the Scott report’s conclusion, RMA’s own

published procedure required an additional expert opinion. Defendants ignored this procedural

protection for the farmer and relied on one (1) single opinion while disregarding expert Dr. Justin

Tuggle’s affidavit which clearly stated “Mr. Miller’s herbicide and fungicide program was

adequate.” 68 Defendants’ similarly disregarded Geoff Cooper’s expert opinion affidavit. Now,

Defendants are relying on one expert and disregarding two! The Plaintiff suggests that the

aforementioned disregard for the procedures outlined in the GFP handbook provides sufficient

basis for this Court to reverse the Agency’s GFP determination in this case.

        V.      CONCLUSION

        This Court should reverse the Defendant’s conclusions that Plaintiff did not follow “good

farming practices.” A thorough review of the record demonstrates that the Plaintiff’s crop was


66
   See Administrative Record at ECF Doc. No. 13-2, USA-AR 7251.
67
   See Appendix Page 10, GFP Determination Standards Handbook Excerpt at Paragraph 22 A(3).
68
   Id.
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damaged by an insurable cause of loss, high wind and excess precipitation, and that the

Defendant’s determination that these losses are uninsurable as a failure to employ good farming

practices is arbitrary and capricious. Furthermore, the Defendants’ refusal to follow their own

regulations and reliance on publications relating to Georgia peanut production provides a basis for

reversal in that the Defendants have failed to follow the USDA’s own published procedure and the

applicable law. For the foregoing reasons, the Court should grant this Motion for Judgment on the

Record.

DATED: January 17, 2024.

                                              Respectfully submitted,

                                      By:      /s/ Grant Ballard
                                              J. Grant Ballard (AR Bar # 2011185)
                                              ARK AG LAW, PLLC
                                              P.O. Box 224
                                              Clarendon, AR 72029
                                              T: (870) 747-3813
                                              F: (870) 747-3767
                                              E: gballard@arkaglaw.com
                                CERTIFICATE OF SERVICE
        I hereby certify that a copy of this document was filed with the Court’s electronic case
filing (ECF) system on January 17, 2024, which caused an electronic copy of this document to be
served on all counsel of record.

               /s/ Ann E. Cruce-Haag
               ANN E. CRUCE-HAAG
               Assistant United States Attorney
               Texas Bar No. 24032102
               1205 Texas Avenue, Suite 700
               Lubbock, Texas 79401
               Telephone:      (806) 472-7351
               Facsimile:       (806) 472-7394
               Email: ann.haag@usdoj.gov




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